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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

           Plaintiff.                                   Criminal No. 17-cr-20274
                                                        Hon. Bernard A. Friedman
 v.

 D-6, FATEMA DAHODWALA,

           Defendant.


                    STIPULATION REGARDING PASSPORT OF
                    FATEMA DAHODWALA MINOR CHILDREN

       Fatema Dahodwala, by and through her attorney, Brian M. Legghio, and the

 United States Government, through its attorney Sara Woodward, stipulate to the

 following modification of Ms. Dahodwala’s bond conditions:

              The Pretrial Services Agency shall release the U.S. Passports
              (“the Passports”) of Ms. Dahodwala’s two (2) minor children to
              undersigned counsel, Brian M. Legghio, for the purpose of
              enabling Ms. Dahodwala to renew their Passports. Upon
              completion of the renewal application Mr. Legghio will return
              the Passports to the Pretrial Services Agency.


                                           Respectfully submitted,

  DATED: July 8, 2019                      s/ Brian M. Legghio
                                           BRIAN M. LEGGHIO
                                           Attorney for Fatema Dahodwala

  DATED: July 8, 2019                      s/Sara Woodward
                                           AUSA SARA WOODWARD
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

         Plaintiff.                                     Criminal No. 17-cr-20274
                                                        Hon. Bernard A. Friedman
v.

D-6, FATEMA DAHODWALA,

         Defendant.


                        ORDER REGARDING PASSPORTS OF
                      FATEMA DAHODWALA MINOR CHILDREN

      Fatema Dahodwala’s bond conditions shall be modified as follows:

                      The Pretrial Services Agency shall release the U.S. Passports
             (“the Passports”) of Ms. Dahodwala’s two (2) minor children to
             undersigned counsel, Brian M. Legghio, for the purpose of enabling
             Ms. Dahodwala to renew their Passports. Upon completion of the
             renewal application Mr. Legghio will return the Passports to the
             Pretrial Services Agency.


      All other bond conditions shall remain in full force and effect.


       IT IS SO ORDERED:

                                              s/Bernard A. Friedman____________
 Dated: July 11, 2019                         BERNARD A. FRIEDMAN
 Detroit, Michigan                            SENIOR U.S. DISTRICT JUDGE
